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                             IN THE UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF OHIO
                                       EASTERN DISTRICT

   MICHAEL GONIDAKIS, ET AL.,

           PLAINTIFFS,

   AND
                                                     CASE NO. 2:22-CV-00773
   THE HONORABLE REVEREND
   KENNETH L. SIMON, ET AL.,                         CHIEF JUDGE ALGENON L. MARBLEY

           INTERVENOR-PLAINTIFFS,                    JUDGE AMUL R. THAPAR

   VS.                                               JUDGE BENJAMIN J. BEATON

   GOVERNOR MIKE DEWINE,
   GOVERNOR AND MEMBER OF THE
   OHIO REDISTRICTING COMMISSION,
   ET AL.,

           DEFENDANTS.


      INTERVENOR-DEFENDANTS HUFFMAN AND CUPP’S MEMORANDUM IN
      OPPOSITION TO SIMON INTERVENOR-PLAINTIFFS’ MOTION FOR CLASS
                             CERTIFICATION

         Intervenor-Defendants Senate President Matt Huffman and Speaker Robert R. Cupp

  (“Legislative Defendants”) file this Memorandum in Opposition to Intervenor-Plaintiffs’ Kenneth

  L. Simon, Lewis Macklin, and Helen Youngblood’s (collectively, “Simon Intervenors”) Motion

  for Class Certification.

                                          ARGUMENT

         On March 29, 2022 Simon Intervenors filed the instant Motion for Class Certification. Two

  days later, Simon Intervenors filed a Second Motion for Temporary Restraining Order. In the

  Court’s April 12, 2022 Order on Simon Intervenor’s Second Motion for Temporary Restraining

  order, the Court noted that the Simon Intervenor’s requests regarding Ohio’s congressional

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  districting exceeded the scope of their intervention, and declined to grant relief. The Court further

  held that while the Simon Intervenors could remain in this case, it must be solely for the “purpose

  originally identified: addressing their constitutional challenge to the remedy or remedies sought

  with respect to the General Assembly Redistricting.” (D.E.185 p.6). The Court suggested that if

  Simon Intervenors wanted to continue to litigate issues outside of that narrow scope, the proper

  venue was the Northern District of Ohio.

         Because the majority of the issues raised in Simon Intervenors Motion for Class

  Certification relate to issues outside of the narrow scope of this case, Legislative Defendants’

  position is that the Court’s April 12 Order mooted Simon Intervenors’ Motion. Should the Simon

  Intervenors want to seek class certification in a new suit in the Northern District of Ohio regarding

  Ohio’s Congressional districting or the “at large elections” in Mahoning County, they are free to

  do so. But this Court is not the proper vehicle for their Motion for Class Certification.

         If the Court were to determine that the April 12 Order did not moot the relief sought by

  Simon Intervenors, the Motion for Class Certification should still be denied. The Supreme Court

  of the United States has repeatedly held that a “person's right to vote is ‘individual and personal in

  nature.’ Gill v. Whitford, 138 S. Ct. 1916, 1929, 201 L. Ed. 2d 313 (2018) quoting Reynolds v.

  Sims, 377 U.S. 533, 561, 84 S.Ct. 1362, 12 L.Ed.2d 506 (1964). And districting suits should

  properly challenge individual districts themselves. See Alabama Legislative Black Caucus v.

  Alabama, 575 U.S. 254, 262, 135 S. Ct. 1257, 1265, 191 L. Ed. 2d 314 (2015) (gerrymandering

  claim [] applies to the boundaries of individual districts.”) This makes class actions in redistricting

  suits inherently suspect, because class actions, by their very nature, are focused on group harm.

         But even more fundamentally, this Court should deny Simon Intervenors Motion for Class

  Certification because the rights of the proposed class will be adequately represented by the Simon



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  Intervenors and other Plaintiff Intervenors in this action, and because the class is not needed to

  achieve the same result. Simon Intervenors and other Plaintiff Intervenors in this action have

  sought both declaratory and injunctive relief. And if they prevail, this relief will benefit all

  members of the proposed class.

            Courts across the country have routinely denied class action certifications in instances such

  as these, many of which have involved districting or other voting rights issues. See Fairley v.

  Forrest Cty., Miss., 814 F. Supp. 1327, 1330 (S.D. Miss. 1993) (denying motion for class

  certification because the Plaintiffs sought declaratory and injunctive relief which would bind and

  benefit all members of the proposed class); Ball v. Brown, 450 F. Supp. 4, 8 (N.D. Ohio 1977)

  (denying class action certification in a voting rights case because (“[t]he effect of the Court's decree

  will extend to the plaintiff and all others similarly situated irrespective of whether this case

  proceeds as a class action”); United Farmworkers of Florida Housing Project, Inc. v. City of

  Delray Beach, 493 F.2d 799 (5th Cir. 1974) (upholding denial of class action certification because

  any injunctive relief won by plaintiff would benefit not just plaintiff, but “all other persons subject

  to the practice under attack”); Baughman v. Bowman, 2021 WL 3924081, at *2 (E.D. Tex. July

  22, 2021), report and recommendation adopted sub nom. Baughman v. Bowman, No. 6:20-CV-

  560-JDK-KNM, 2021 WL 3912666 (E.D. Tex. Sept. 1, 2021) (holding the same); Dionne v.

  Bouley, 757 F.2d 1344, 1357 (1st Cir. 1985) (upholding district court’s denial of class certification

  where there was “no practical need for class certification” due to the injunctive nature of the relief

  sought).

                                             CONCLUSION

            For the foregoing reasons, Simon Intervenors’ Motion for Class Certification should be

  denied.



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         Respectfully submitted this the 19th day of April, 2022.


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                                     CERTIFICATE OF SERVICE
             I hereby certify that on this the 19th of April 2022 the foregoing document was filed via

  the Court’s CM/ECF system which sent notice of the same to all counsel of record in this matter.

                                                         /s/ Phillip J. Strach

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